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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SAMA CAMP, LLC,               )
                              )
     Plaintiff,               ) CIVIL ACTION
                              )
v.                            ) FILE NO.: 1:22-cv-01722-TCB
                              )
SAMA TEA, LLC; SAMA           )
WORLDWIDE, INC.;              )
SAMA BEVERAGES, LLC; 100.CO; )
JAY SHETTY; RADHI DEVLUKIA )
SHETTY, KIM PERELL; and JAMES )
BRENNAN                       )
                              )
     Defendants.              )

 DEFENDANT TEA WORLDWIDE INC.’S CERTIFICATE OF SERVICE
                    OF DISCOVERY

      Defendants Sama Tea, LLC, Sama Beverages, LLC, and Sama Worldwide,

Inc., now known as Tea Worldwide, Inc. (collectively, “Tea Worldwide, Inc.” or

“Defendant”) and hereby certifies that it has this day electronically filed this

Certificate of Service of Discovery showing that the following documents were

duly served upon all counsel of record via electronic mail on August 22, 2022:

   1. DEFENDANT TEA WORLDWIDE, INC.’S FIRST REQUESTS FOR
      ADMISSION TO PLAINTIFF SAMA CAMP, LLC;

   2. DEFENDANT TEA WORLDWIDE, INC.’S FIRST REQUESTS TO
      PRODUCE TO PLAINTIFF SAMA CAMP, LLC; and,
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  3. DEFENDANT TEA WORLDWIDE, INC.’S FIRST INTERROGATORIES
     TO PLAINTIFF SAMA CAMP, LLC


     Respectfully submitted this 22nd day of August, 2022.

                                          WEINBERG, WHEELER,
                                          HUDGINS, GUNN & DIAL, LLC

                                          /s/Briana A. Burrows
                                          William C. Buhay
3344 Peachtree Road, NE,                  Georgia Bar No. 093940
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wbuhay@wwhgd.com                          Inc.
bburrows@wwhgd.com




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    RULE 7.1D CERTIFICATE OF TYPE, FORMAT, AND FONT SIZE

     Pursuant to Local Rule 7.1D of the United States District Court of the

Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, double-spaced between lines,

and used Times New Roman font of 14-point size.


                                      /s/ Briana A. Burrows
                                      Briana A. Burrows




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                            CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing DEFENDANT TEA

WORLDWIDE INC’S CERTIFICATE OF SERVICE OF DISCOVERY

via CM/ECF, which will automatically send notification to the following attorneys

of record in this action:

                            Marcy L. Sperry
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                            Attorneys for Plaintiff

      This 22nd day of August, 2022.


                                         WEINBERG, WHEELER,
                                         HUDGINS, GUNN & DIAL, LLC


                                         /s/ Briana A. Burrows
                                         Briana A. Burrows
                                         Georgia Bar No. 915353

                                         Counsel for Defendant Tea Worldwide, Inc.
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